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             EXHIBIT 35
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         EXHIBIT “F”
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October 23, 2023                                                                    Annaleigh E. Curtis


Via E-Mail                                                                                +1 617 526 6694 (t)
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                                                                            annaleigh.curtis@wilmerhale.com
Derrick Anderson
Williams & Connolly
680 Maine Avenue SW
Washington, DC 20024

Re: ModernaTX, Inc. and Moderna US, Inc., v. Pfizer Inc., BioNTech SE, BioNTech
    Manufacturing GmbH, and BioNTech US Inc., Case No. 1:22-cv-11378-RGS

Counsel:

       I write to respond to your October 16, 2023, letter and to follow up on several longstanding
issues with defendants’ productions.

Issues in Pfizer’s Productions

         First, in Mr. Liu’s October 6, 2023 email regarding the PFE_COMIR_012 production, he
asserted that the cross-reference file was intended to allow the files to become overlay files.
However, adding unnecessary suffixes prevents these files from becoming overlays because they
have a different Bates Begin number. The system can only load these as new production files,
thus the original 2,000 plus files with non-responsive redactions remain in our database. Our team
explained the technical issues surrounding the additional—as opposed to overlay—files in
PFE_COMIR_012 to Mr. Liu and your vendor in a conference call on October 17, 2023.
Regardless of these concerns and request for industry-standard overlay files, you served a second
set of replacements, as opposed to overlay, files in PFE_COMIR_020 on October 19, 2023.

        We request that your vendor provide the corrected PFE_COMIR_012 and
PFE_COMIR_020 overlays, containing the original Bates numbers in the data load file, opt file,
and csv file used for Images, Text and Native Paths, as well as on the images and text files to allow
a true overlay. We understand that suffixes will be needed in PFE_COMIR_020, as they appear
to be attempted replacements for slipsheet files. However, the first Bates number of the file should
not have a suffix for the reasons above and discussed with Mr. Liu and your vendor On October
17, 2023.

        Second, in my September 11, 2023, letter and September 25, 2023, email, we explained
the need for you to provide the extracted text for all slipsheeted files (as both Moderna and
BioNTech have done in this matter). It is impossible for us to identify substantive files among the
tens of thousands without metadata other than Bates numbers. For example, Pfizer produced hard
copy scans, e.g., PFIZER_COMIR_01839218, which have the same (lack of) metadata as
slipsheets. We understand that parties are not required to produce the same amount of metadata
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for hard copies as for ESI files under the ESI Order. However, your slipsheets are not hard copy
documents. Pfizer’s decision not to provide extracted text for these slipsheet files (File Could Not
Be Processed or Withheld for Privilege or Withheld as Not Responsive) or otherwise identify them
as slipsheet files in metadata severely prejudices our review of your productions because we cannot
know without review of individual documents whether these tens of thousands of files are
slipsheets or substantive, nor are we able to determine without document-by-document review
whether Pfizer is withholding documents for non-responsiveness, technical issues, or privilege.
Please confirm by October 27, 2023 that you will either provide extracted text for these slipsheet
files or will provide a further metadata field identifying each slipsheet file.

        Third, we have discovered a large number of email files in Pfizer’s production that do not
include metadata for the email subject line even though the emails do have subject lines. Indeed,
there are 20,969 Pfizer production files with a document extension of either eml or msg, which
include information in “to” and “from” fields, that do not include a Filename, Email Subject, or
File Path. See, e.g., PFIZER_COMIR_01349037.

Issues in BioNTech’s Productions

         In our September 11, 2023, letter we requested the most basic metadata for substantive
files. BioNTech recently provided an overlay file for the BNT_COMIR_014 production that
consists of one hard copy scanned notebook. This file now has a Custodian’s name in the metadata,
though the File Name still reflects only the beginning Bates number. On the other hand, the 30
files in BNT_COMIR_001 and 002 did not receive metadata updates and all have a Bates number
listed as the File Name. The first production contains 26 scanned documents without a Custodian
named, and the second production contains four electronic files without any of the required
metadata. Please provide a second reproduction to update BNT_COMIR_001 and 002 as
described above.

October 16, 2023 Letter from Anderson

        First, with respect to your October 16, 2023, letter, we have already responded via email
on the questions you raised about production of documents from the named inventors.

        Second, we have reviewed the redactions you identified and have not determined that any
of them are inappropriate. Many of them relate to redaction of IP strategy informed by counsel.
For example, several of the documents you identify have a redaction to a slide containing legal
analysis called “                    ,” and several others redact cells or columns from spreadsheets
that contain analysis of Moderna’s patent counsel. Please provide any good cause you have for
challenging the redactions subject to the ESI order.
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       Third, we will provide supplemental metadata, to the extent it is available, for the emails
and calendar entries missing file extension values.

      Fourth, we have reviewed the documents you identified that do not contain “From/Sender”
metadata. This metadata does not exist for the three documents you identified, likely because the
documents are drafts.

        Fifth, we will reproduce the documents you identified as having unreadable elements in
color. We will also produce PowerPoint files in color going forward and request that defendants
do the same.

       Sixth, the documents with slip sheets marked “Intentionally Left Blank” are documents or
families that were pulled from a production after it was run (for example, due to an imaging error),
but which were later produced under other Bates numbers.

       Seventh, the document you identify as having been produced multiple times is not a
duplicate file. A similar file was attached routinely to calendar invites for recurring meetings, so
appears multiple times, including when the calendar invite changed, was canceled, or recurred.

Sincerely,


/s/ Annaleigh E. Curtis


Annaleigh E. Curtis
